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                             BEFORE THE JUDICIAL PANEL
                            ON MULTIDISTRICT LITIGATION

        In re Payment Card Interchange Fee and Merchant Discount Antitrust Litigation
                                   MDL Docket No. 1720

                               CERTIFICATE OF SERVICE

       I hereby certify that on February 23, 2021, true and correct copies of (1) Notice of

“Tag-Along” Action; (2) Schedule of Actions; (3) Case Docket Sheet; (4) Complaint; and (5)

this Certificate of Service (“February 23, 2021 Notice of ‘Tag Along’ Action Papers”) were

electronically filed via the ECF system. The following counsel associated with the newly

noticed “tag-along” action were served with paper copies of the February 23, 2021 Notice of

“Tag-Along” Action Papers via Federal Express.


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